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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

                                                   §
                                                   §
 SMARTFLASH LLC and SMARTFLASH                     §
 TECHNOLOGIES LIMITED,                             §
      Plaintiffs,                                           Civil Action No. 6:13-cv-447-JRG
                                                   §
 v.                                                §
                                                   §
 APPLE, INC.,                                      §
      Defendant.                                   §


                                      FINAL JUDGMENT

       A jury trial commenced in this case on February 16, 2015. The jury returned a unanimous

verdict on February 24, 2015 finding infringement and also finding that the claims in suit were not

invalid. (Dkt. No. 503.) On July 1, 2016, this Court issued its Amended Judgment. (Dkt. No. 641.)

Defendant Apple, Inc. appealed this Court’s Amended Judgment five days later. (Dkt. No. 642.)

On March 1, 2017, the United States Court of Appeal for the Federal Circuit ruled that the patents-

in-suit were invalid for failing to recite patent-eligible subject matter under 35 U.S.C. § 101 (Dkt.

No. 651), and on June 19, 2017 the circuit court’s mandate issued pursuant to Rule 41(a) of the

Federal Rules of Appellate Procedure. (Dkt. No. 652.)

       In light of the above and pursuant to Rule 58 of the Federal Rules of Civil Procedure and

pursuant to the rulings of the Federal Circuit, the Court hereby ORDERS and ENTERS

JUDGMENT as follows:

        1. Claim 13 of U.S. Patent No. 7,334,720; claim 32 of U.S. Patent No. 8,118,221; and

            claims 26 and 32 of U.S. Patent No. 8,336,772 are invalid, and as a result Plaintiffs

            shall take nothing against Defendant herein.
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        2. Pursuant to Rule 54(d) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1920,
   .
           Defendant is the prevailing party, and as such, Defendant shall recover its costs from

           Plaintiffs. Defendant is directed to file its Bill of Costs.

        3. Any and all pending motions as between Plaintiffs Smartflash LLC and Smartflash

           Technologies Limited and Defendant Apple, Inc. in this case that have not previously

           been addressed by the Court are hereby DENIED AS MOOT.

        4. The Clerk is directed to close this file.

        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 16th day of August, 2017.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




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